                        Case 23-10101-LSS         Doc 82    Filed 03/20/23     Page 1 of 5




                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


        In re:                                             Chapter 7

        PROJECT VERTE INC.,                                Case No. 23-10101(LSS)

                                       Debtor.

                                             NOTICE OF SERVICE

                 Please take notice that true and correct copies of the Trustee’s Responses and Objections

        to the First Request for Production of Documents from Jossef Kahlon and TNJ Holdings, Inc. to

        Trustee, together with a file containing Documents Bates Stamped Trustee 0001-Trustee 0334,

        were served on March 17, 2023 by electronic service upon the following individuals:

                                       Avelino A. Garcia, Esquire
                                       Glenn Agre Bergman & Fuentes
                                       1185 Avenue of the Americas, 22nd floor
                                       New York, NY 10036
                                       Email: AGarcia@glennagre.com

                                       Kurt Mayr, Esquire
                                       Glenn Agre Bergman & Fuentes
                                       1185 Avenue of the Americas, 22nd floor
                                       New York, NY 10036
                                       Email: kmayr@glennagre.com

                                       Michael Paul Bowen, Esquire
                                       Glenn Agre Bergman & Fuentes
                                       1185 Avenue of the Americas, 22nd floor
                                       New York, NY 10036
                                       Email: mbowen@glennagre.com

                                       Shai Schmidt, Esquire
                                       Glenn Agre Bergman & Fuentes
                                       1185 Avenue of the Americas, 22nd floor
                                       New York, NY 10036
                                       Email: sschmidt@glennagre.com




143819617.1
                     Case 23-10101-LSS   Doc 82      Filed 03/20/23   Page 2 of 5




                                Maggie Lovric, Esquire
                                Glenn Agre Bergman & Fuentes
                                1185 Avenue of the Americas, 22nd floor
                                New York, NY 10036
                                Email: mlovric@glennagre.com

                                Amanda R. Steele, Esquire
                                Richards Layton & Finger, P.A.
                                One Rodney Square
                                920 North King Street
                                Wilmington, DE 19801
                                Email: steele@rlf.com

                                David T. Queroli, Esquire
                                Richards Layton & Finger, P.A.
                                One Rodney Square
                                920 North King Street
                                Wilmington, DE 19801
                                Email: queroli@rlf.com

                                Rudolf Koch, Esquire
                                Richards Layton & Finger, P.A.
                                One Rodney Square
                                920 North King Street
                                Wilmington, DE 19801
                                Email: koch@rlf.com

                                              FOX ROTHSCHILD LLP


                                              /s/ Seth A. Niederman
                                              Seth A. Niederman(DE No . 4588)
                                              919 N. Market Street, Suite 300
                                              Wilmington, DE 19801
                                              (302) 654-7444
                                              sniederman@foxrothschild.com

                                              Counsel to Alfred T. Giuliano, Chapter 7 Trustee



        Dated: March 20, 2023




                                                 2


143819617.1
                       Case 23-10101-LSS         Doc 82      Filed 03/20/23   Page 3 of 5




                                        CERTIFICATE OF SERVICE


               I hereby certify that on March 20, 2023, the foregoing Notice of Service was served via the

        Court’s CM/ECF electronic filing system on all parties registered to receive such notice, and in

        the manner indicated on the attached service list.


                                                              /s/ Seth A. Niederman
                                                              Seth A. Niederman (DE No. 4588)




                                                         3


143819617.1
              Case 23-10101-LSS   Doc 82      Filed 03/20/23   Page 4 of 5




                         SERVICE LIST (all via E-mail)

                         Avelino A. Garcia, Esquire
                         Glenn Agre Bergman & Fuentes
                         1185 Avenue of the Americas, 22nd floor
                         New York, NY 10036
                         Email: AGarcia@glennagre.com

                         Kurt Mayr, Esquire
                         Glenn Agre Bergman & Fuentes
                         1185 Avenue of the Americas, 22nd floor
                         New York, NY 10036
                         Email: kmayr@glennagre.com

                         Michael Paul Bowen, Esquire
                         Glenn Agre Bergman & Fuentes
                         1185 Avenue of the Americas, 22nd floor
                         New York, NY 10036
                         Email: mbowen@glennagre.com

                         Shai Schmidt, Esquire
                         Glenn Agre Bergman & Fuentes
                         1185 Avenue of the Americas, 22nd floor
                         New York, NY 10036
                         Email: sschmidt@glennagre.com

                         Maggie Lovric, Esquire
                         Glenn Agre Bergman & Fuentes
                         1185 Avenue of the Americas, 22nd floor
                         New York, NY 10036
                         Email: mlovric@glennagre.com

                         Amanda R. Steele, Esquire
                         Richards Layton & Finger, P.A.
                         One Rodney Square
                         920 North King Street
                         Wilmington, DE 19801
                         Email: steele@rlf.com

                         David T. Queroli, Esquire
                         Richards Layton & Finger, P.A.
                         One Rodney Square
                         920 North King Street
                         Wilmington, DE 19801
                         Email: queroli@rlf.com



                                          4


143819617.1
              Case 23-10101-LSS   Doc 82     Filed 03/20/23   Page 5 of 5




                         Rudolf Koch, Esquire
                         Richards Layton & Finger, P.A.
                         One Rodney Square
                         920 North King Street
                         Wilmington, DE 19801
                         Email: koch@rlf.com




                                         5


143819617.1
